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                                                    United States District Court
                                                               for the
                                                           District of New Jersey


               United States of America                               )

               MICHELLE MASSARO                                              Case    12-13 l(SRC)

                           Del ndarn



                                   ORDER SETTING CONDITIONS OF RELEASE

iT IS ORDERED that the defendant’s release is subject
                                                                           to these conditions:

       (1)         The defendant must not violate any federal, state or local
                                                                                            law while on release.
       (2)         The defendant must cooperate in the collection of a DNA
                                                                           sample if the collection is
                   authorized by 42 U.S.C. § 14135a.

       (3)         The defendant must immediately advise the court, defense
                                                                            counsel, and the U.S. attorney in
                   writing before any change in address or telephone number.

       (4)        The defendant must appear in court as required and must
                                                                          surrender to serve any sentence
                  imposed.

                  The defendant shall appear before Judge Stanley R. Chesler
                                                                             at Martin Luther King Jr. Federal
                  Building and U.S. Courthouse, 50 Walnut Street, Newark,
                                                                             N.J. 07102 on 5/1/2012 at 10:00
                  a.m..


                                                           Release on Bond

IT IS FURTHER ORDERED THAT:

     (5)         The defendant shall be released upon executing a $500,0
                                                                               00. Unsecured Appearance Bond,
                 co-signed by Renec Massaro. binding them to pay that amoun
                                                                                     t to the United States in the
                 event the defendant fails to appear or fails
                                                              to surrender as directed for service of any sentence
                 imposed.




           DISTRIBUTION:      (O[RT       DEFENDANT            PREFRIAL   SERVICES   F S. AEFORNEY   LS MARSHAL
                                                                                                      _____




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                                          Additional Conditions of Release

(6)       Upon finding that release by the above methods will not by themse
                                                                                  lves reasonably assure the
          appearance of the defendant and the safety’ of other persons and
                                                                             the community, it is lurther ordered
          that the release of the defendant is subject to the condition(s) listed
                                                                                   below:
          (a)      Report to Pretrial Services as directed and advise them immediately
                                                                                        of any contact with law
                   enforcement personnel, including but not limited to, any arrest,
                                                                                    questioning, or traffic stop.
         (b)      Surrender all passports and travel documents to Pretrial Servic
                                                                                  es. Do not apply for new
                  travel documents.
                                                                                 44’7 d’V
         (c)      Travel restricted to NEW YORK AND NEW JERSEY ONLY
                                                                                ,pnless otherwise approved
                  by Pretrial Services.

         (d)      Substance abuse testing and/or treatment as directed by Pretria
                                                                                   l Services. Refrain from
                  obstructing or tampering with substance abuse testing proced
                                                                               uresiequipment.
         (e)      Mental health testing and/or treatment as directed by Pretrial Servic
                                                                                            es.

         (0       Maintain or actively seek employment.

        (g)       Avoid all contact, direct or indirect, with anyone who is or may
                                                                                    become a victim or potential
                 \ itness in the subject Investigation or prosec
                                                                   ution including but not limited to

                   ‘




      DISTRIBUTION:    COURT       DEFEN[)ANT    PRETRL\L   SERVICES   t S. ATFORNEY   U S. MARSHAL
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       NJ tO’)C   (Rev. (it Nl .\dviec of Penalties
                                                                                                                                                   page 3 of 4

                                                        ADVICE OF PENALTIES AND SANCTIONS

      TO THE DEFENDANT:

      YOU ARE ADVISED OF THE FOLLOWING
                                                             PENALTIES AND SANCTIONS:

                 Violating any of the foregoing conditions of release
                                                                          may result in the immediate issuance of a warrant for
      of your release, an order of deteition, a ftrfeiture                                                                          your arrest, a revocation
                                                             of any bond, and a prosecution for contempt of court
      a fine, or both.                                                                                                   arid could result in imprisonment.
                 While on release, if you commit a federal felony offense
                                                                                 the punishment is an additional prison term of not more
      and for a federal misdemeanor offense the punishment                                                                                     than ten years
                                                                    is an additional prison term of’ not more than one
     consecutive (i.e., in addition to) to any other                                                                        year. This sentence vilI be
                                                       sentence you receive.
                It is a crime punishable by up to ten years in prison,
                                                                         and a 5250.000 fine, or both, to: obstruct a criminal
     a witness, victim, or informant: retaliate or attempt to                                                                     investigation: tamper with
                                                                retaliate against a witness. victim, or informant; or
     a witness, victim, iuror. informant, or officer of the                                                             intimidate or attempt to intimidate
                                                               court, The penalties for tampering, retaliation,
     serious if they involve a killing or attempted killing                                                         or intimidation are significantly more
                                                              .
                If. after release, you knowingly fail to appear as
                                                                       the conditions of release require, or to surrender
     he prosecuted for failing to appear or surrender and                                                                    to serve a sentence, you may
                                                                additional punishment may be imposed. If you are convic
               (1) an offense punishable by death. life imprisonmen                                                              ted of:
                                                                          t, or imprisonment thr a term of fifteen years or
                     more than 5250.000 or imprisoned for not more                                                            more you will be fined not
                                                                                                                                          —




                                                                          than 10 years. or both:
               (2) an offense punishable by imprisonment ftr a term
                                                                           of five years or more, but less than fifteen years you
                    than $250,000 or imprisoned for not more than five                                                               will be fined not more
                                                                               years. or both;
               (3) any other felony you will be fined not more
                                        —




                                                                        than $250,000 or imprisoned not more than two
               (4) a misdemeanor you will be fined not more than                                                              years. or both;
                                                                            S 100.000 or imprisoned not more than one year,
               A term of imprisonment imposed for failure to appear                                                                or both.
                                                                             or surrender will be consecutive to any other senten
    addition, a failure to appear or surrender may result                                                                             ce you receive. In
                                                              in the forfeiture of any bond posted.

                                                            Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this case and
                                                                     that I am aware of the conditions of release. I promise
    of release, to appear as directed, and surrender to serve                                                                to obey all conditions
                                                              any sentence imposed. I am aware of the penalties and
                                                                                                                        sanctions set forth above.
                                                                                         ‘/4
                                                                                 77   .//
                                                               1      .4/ /7>4//i/ /
                                                                          .Z
                                                                               •/•          .




                                                                      I        /                         Dcf’endant   ‘   Signature



                                                                               ‘
                                                                                     %i4/       /!                4a4/
                                                                                                            (ijnd Suite


                                                         Directions to the United States Marshal

(    V The defendant is ORDEREI) released after processing.
           The United States marshal is ORDERED to
                                                        keep the defendant in cus.tody until notified by the clerk
           has posted bond and. or complied with all other                                                           or judge. that the defendant
                                                           conditions tbr release. If still in custody. the defend
           the appropriate judge at the time and place specifi                                                     ant must be produced before
                                                              ed.

    Date
                             b
                                                                                                     Judicial Officer c Signature




                                                                  Stmley R Chvler United SUites Dm’trict fudge

                                                                                                               name and rak



                     DISTRII3t;TION:        (SOURI    DEFENDANT     PRETRIAL          SERVICES        US, ATTORNEY               US. MARSHAL
